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 Attorneys for Catherine DeFrancesco

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 CREIGHTON TAKATA, individually and on      :
 behalf of all others similarly situated,   :
                                            :
                      Plaintiff,            :
                                            :   Civil Action No. 3:18-02293 (FLW) (TJB)
               v.                           :
                                            :
 RIOT BLOCKCHAIN, INC. f/k/a BIOPTIX,       :
 INC., JOHN O’ROURKE, JEFFREY               :
 MCGONEGAL, BARRY HONIG,                    :
 CATHERINE DEFRANCESCO, MICHAEL             :
 BEEGHLEY, JOHN STETSON, MARK               :
 GROUSSMAN, ANDREW KAPLAN, MIKE             :
 DAI, JASON LES and ERIC SO,

                      Defendants.


            REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
               CATHERINE DeFRANCESCO’S MOTION TO DISMISS
           THE CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
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        Defendant Catherine DeFrancesco submits this reply memorandum of law in further

 support of her Motion to Dismiss the Consolidated Amended Class Action Complaint.

                                PRELIMINARY STATEMENT

        Plaintiff’s Opposition largely concedes that Plaintiff has no claim against Ms.

 DeFrancesco. The Moving Brief makes clear that the Amended Complaint fails to allege a

 manipulative or deceptive act on the part of Ms. DeFrancesco, and the Opposition offers no

 meaningful response. Plaintiff’s claims may be dismissed on this basis alone.

        Plaintiff also fails to address that the Kairos and Prive Transactions—the alleged

 misconduct to which the Amended Complaint purports to connect Ms. DeFrancesco—involved

 no manipulative trading of RBI securities, and were allegedly misleading solely due to

 misrepresentations (by RBI), which are actionable under Rule 10b-5(b). Plaintiff’s reliance upon

 Lorenzo v. S.E.C., 139 S. Ct. 1094 (2018), to hold Ms. DeFrancesco liable under Rules 10b-5(a)

 and (c) is misplaced. Lorenzo held a defendant could be liable under Rules 10b-5(a) or (c) for

 disseminating misleading statements, even if the defendant did not make those statements. But

 Plaintiff nowhere alleges that Ms. DeFrancesco disseminated misleading statements. Lorenzo

 did not hold that a defendant was liable under Rules 10b-5(a) or (c) for making misstatements,

 which would be actionable under Rule 10b-5(b). As detailed in the Moving Brief, that would

 amount to aiding and abetting liability for breaches of Rule 10b-5(b), which has been rejected by

 Congress and the courts.      Plaintiff’s attempt to tie Ms. DeFrancesco to RBI’s alleged

 misstatements or omissions concerning the Kairos and Prive Transactions therefore fails.

        Finally, Plaintiff’s failure to allege that Ms. DeFrancesco committed any act at all means

 she could not act with scienter. Plaintiff also fails to plead any motive in connection with the

 Kairos or Prive Transactions, or that Ms. DeFrancesco was an RBI “insider” when she sold RBI

 shares, and therefore does not plead an inference of scienter, much less a compelling one.
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                                          ARGUMENT

 I.     PLAINTIFF FAILS TO PLEAD THAT MS. DeFRANCESCO BREACHED
        RULES 10b-5(a) OR (c)

        A.      Plaintiff Fails to Allege Any Misconduct That Is Actionable Under Rules
                10b-5(a) or (c)

        Plaintiff concedes that claims under Rules 10b-5(a) or (c) require a “manipulative or

 deceptive act.” Opp. 54 (quoting Trustcash Hldgs., Inc. v. Moss, 668 F. Supp. 2d 650, 661

 (D.N.J. 2009)).1 The Moving Brief established, however, that the Amended Complaint pleads no

 such act on the part of Ms. DeFrancesco. See MTD 9. The Opposition does not remedy this

 pleading deficiency, as it fails to identify any allegations that Ms. DeFrancesco played any role

 in the Kairos or Prive Transactions beyond holding minority stakes in each entity. See id. The

 Opposition likewise identifies no facts indicating Ms. DeFrancesco held a stake in Kairos at the

 time of the Prive Transaction—when Kairos was already a subsidiary of RBI—and therefore

 fails to plead that the Prive Transaction was a “related party” transaction as to Ms. DeFrancesco.

 See id. Plaintiff therefore fails to allege “with specificity . . . that [Ms. DeFrancesco herself]

 conducted an ‘act, scheme, or course of conduct’ to defraud investors.” See Kemp v. Univ. Am.

 Fin. Corp., 2007 WL 86942, at *1, *17 (S.D.N.Y. Jan. 10, 2007).

        As the Moving Brief also established, Plaintiff’s claim that RBI paid an exorbitant

 premium for bitcoin equipment in the Kairos and Prive Transactions is based on the assertion

 that the same bitcoin equipment was available more cheaply from the manufacturer. Plaintiff

 supports this allegation with an archived version of the manufacturer’s website. In other words,

 the supposed extent of the overpayment—which is critical to Plaintiff’s alleged secret “pump and

 dump” scheme—was public information. See MTD 4-6 (noting manufacturer’s alleged price

        1
         Capitalized terms used herein have the same meaning as in the Moving Brief. The
 Moving Brief is cited herein as “MTD __”; the Opposition is cited as “Opp. __.”


                                                 2
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 was based on public website). Indeed, Plaintiff’s allegations demonstrate that “the market” for

 RBI’s stock would have been aware of the difference between the price RBI paid for bitcoin

 equipment, and the lower price supposedly available from the manufacturer of that equipment,

 because the market “promptly digested current information regarding [RBI] from publicly

 available sources and reflected such information in the price of the common stock.” AC ¶¶ 416

 (emphasis added). Plaintiff cannot plead that the market was misled by the prices paid in the

 Kairos and Prive Transactions while also pleading that the supposed pricing discrepancy was

 public information. See, e.g., Oran v. Stafford, 34 F. Supp. 2d 906, 914 (D.N.J. 1999), aff’d, 226

 F.3d 275 (3d Cir. 2000) (“[T]he allegedly omitted information consists primarily of the reports of

 heart valve damage to which the July 8 press releases referred. As a matter of law, these facts

 would not have ‘altered the basic mix of information’ that had already been disclosed on July 8,

 1997.”).

        The sole alleged, undisclosed information concerning the Kairos and Prive Transactions

 was therefore Ms. DeFrancesco’s stakes in those entities.        But, as the Moving Brief also

 established, Plaintiff nowhere alleges that Ms. DeFrancesco played any role in any of RBI’s

 alleged misstatements or omissions, including the statements that no director, officer, or 5%

 shareholder “has any material interest . . . in any transaction . . . .” AC ¶ 346 (quoting RBI 2017

 Proxy Statement). And Plaintiff offers no response concerning its failure to allege that Ms.

 DeFrancesco had any disclosure duty to RBI shareholders. See MTD 3, 13. Plaintiff therefore

 fails to plead any act at all, much less a manipulative one, that can support claims under Rules

 10b-5(a) or (c).

        The Moving Brief also established, and Plaintiff fails to address, that “market

 manipulation”—which, again, Ms. DeFrancesco is not alleged to have committed—“refers



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 generally to practices, such as wash sales, matched orders, or rigged prices,” Trustcash, 668 F.

 Supp. 2d at 662 (citation omitted), and that the Kairos and Prive Transactions involved no

 trading of RBI securities. See MTD 7-9.2 And Plaintiff does not deny that the sole alleged

 reason for claiming the Kairos and Prive Transactions were misleading was alleged

 misstatements and omissions concerning their supposed “related party” status, which are

 actionable, if at all, under Rule 10b-5(b). See MTD 9-12.

        Plaintiff instead relies upon Lorenzo v. S.E.C., 139 S. Ct. 1094 (2018) to claim that Ms.

 DeFrancesco, among others, is liable under Rules 10b-5(a) and (c) because they “took part in a

 deceptive act that was part-and-parcel of a broader scheme to manipulate Riot stock,” and that

 the alleged misstatements and omissions “overlap” with “other well-pled allegations concerning

 intertwining machinations of Defendants and their Related Parties.”3 Opp. 59. Again, Plaintiff

 fails to assert any deceptive or manipulative conduct on Ms. DeFrancesco’s part. See id. at 54

 (arguing that deceptive or manipulative conduct is necessary to plead claims under 10b-5(a) or

 (c)). And Lorenzo holds that “[t]hose who disseminate false statements with intent to defraud are

 primarily liable under Rules 10b-5(a) and (c),” 139 S. Ct. at 1104, which Plaintiff does not allege

 Ms. DeFrancesco ever did. Lorenzo does not hold, however, that the making of misstatements is

 actionable under Rules 10b-5(a) or (c), nor that acts that are allegedly misleading solely on

 account of alleged misrepresentations—such as the Kairos and Prive Transactions—are

 actionable under Rules 10b-5(a) or (c).

        2
           The Opposition nowhere mentions the Private Placement, and therefore Plaintiff
 appears to have abandoned any claims arising from that transaction.
         3
           Plaintiff’s Exhibit 36 attempts to diagram these supposed “intertwining machinations.”
 The pathways concerning Ms. DeFrancesco, however, offer the unremarkable information that
 she beneficially owned, at unspecified times and in unspecified amounts, shares in RBI and
 PolarityTE. Exhibit 36 also illustrates that there is no connection between Ms. DeFrancesco and
 anyone in the supposed “Honig Group” beyond RBI and a single investment in PolarityTE.


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        Lorenzo is further distinguishable. Defendant Lorenzo “sent false statements directly to

 investors,” id. at 1101, yet his conduct, “though plainly fraudulent, might otherwise fall outside

 the scope of the Rule.” Id. at 1102. But Plaintiff here is not applying Rules 10b-5(a) and (c) to

 misstatement-related conduct that might fall through the cracks of Rule 10b-5(b). Plaintiff

 instead seeks to hold Ms. DeFrancesco liable under Rules 10b-5(a) and (c) for misstatements

 related to the Kairos and Prive Transactions allegedly made, disseminated, and otherwise

 communicated entirely by others. Thus, as established in the Moving Brief, what Plaintiff seeks

 to do is create improper aiding and abetting liability under Rule 10b-5(b). See MTD 8-10.

        In an apparent attempt to remedy Plaintiff’s failure to plead actionable conduct, the

 Opposition asserts for the first time that Ms. DeFrancesco failed to file timely reports on

 Schedule 13D. The Moving Brief does not address this assertion because it is not pleaded in the

 Amended Complaint. “It is axiomatic that a plaintiff may not amend his Complaint through an

 opposition brief.” In re Amarin Corp. PLC, 2015 WL 3954190, at *1, *9 (D.N.J. June 29, 2015)

 (Wolfson, J.); see also Fed. R. Civ. P. 8 (requiring a “short and plain statement”). The Court

 should therefore disregard Plaintiff’s new allegations, as well as Plaintiff’s numerous other

 unpleaded assertions and exhibits.4 Furthermore, Plaintiff cites no authority that failing to file

 timely reports on Schedule 13D is actionable as anything but an omission under Rule 10b-5(b).

 See MTD 9-12. Regardless, the Opposition fails to argue—and, as discussed, the Amended

 Complaint fails to plead—which, if any, alleged sales resulted in the “material change” that


        4
          Plaintiff’s assertion that the Court may take judicial notice of facts that are included in
 SEC filings does not mean Plaintiff may effectively amend its already-Amended Complaint by
 introducing new facts and documents in the Opposition brief. Plaintiff’s authority is no help.
 See In re Delmarva Sec. Litig., 794 F. Supp. 1293, 1299 (D. Del. 1992) (taking judicial notice of
 SEC filings cited by Defendants); Oran v. Stafford, 226 F.3d 275, 289 (3d Cir. 2000) (judicial
 notice, on appeal, of limited additional facts where there was no objection).


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 might require filing an amended report on Schedule 13D. See 17 C.F.R. § 240.13d-2(a) (“If

 any material change occurs in the facts set forth in the Schedule 13D . . . the person or persons

 who were required to file the statement shall promptly file . . . an amendment disclosing that

 change.”). Plaintiff thus fails to plead at all, much less with particularity, “what manipulative

 acts were performed . . . when the manipulative acts were performed and what effect the scheme

 had on the securities at issue.” MTD 7 (quoting In re Royal Dutch/Shell Transport Sec. Litig.,

 2006 WL 2355402, at *7 (D.N.J. Aug. 14, 2006)).

        B.      Plaintiff Fails to Allege Meaningful Ties to the “Honig Group”

        Plaintiff relies heavily on unpleaded assertions to tie Ms. DeFrancesco to the “Honig

 Group”—a term Plaintiff defined for purposes of this litigation. See MTD 5 n.3. The sum of

 Plaintiff’s actual allegations is that Ms. DeFrancesco wrote a letter to RBI’s prior CEO, and that

 she previously invested in one other company in which Honig also invested.

        The Opposition makes clear from the outset that, according to a March 8, 2019

 Complaint filed by the Securities and Exchange Commission (“SEC Complaint,” Pl. Ex. 1), it

 was Defendants “‘Honig, Brauser, Stetson and O’Rourke’” who allegedly “operated as a

 ‘partnership.’” Opp. 3 (quoting SEC Complaint ¶ 55). The SEC Complaint nowhere mentions

 Ms. DeFrancesco.     Plaintiff’s assertion that the Defendants had “prior involvement in six

 additional companies,” Opp. 5, ignores that Ms. DeFrancesco is alleged to have beneficially

 owned shares only in PolarityTE.5 See MTD 4 n.1. And the Opposition still fails to identify




        5
         Plaintiff appends certain PolarityTE Form 4 filings to its Opposition. See Pl. Exs. 38-
 45. The Court should likewise disregard these unpleaded documents.


                                                 6
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 facts indicating Ms. DeFrancesco played any role whatsoever in the supposed scheme involving

 that entity. See id.6

         Plaintiff further relies on unpleaded materials to revise its story concerning Ms.

 DeFrancesco’s supposed role in reconstituting the RBI board. The Amended Complaint alleges

 repeatedly that Honig deployed a strategy to install new directors at RBI. See AC ¶ 8 (“After

 suing several longtime members of the [RBI predecessor] Board, Honig successfully ousted

 them.”); id. at ¶ 133 (“Honig attempted to nominate his own slate of new directors . . . .”); id. at ¶

 135 (“Honig waged a proxy fight . . . .”). Ms. DeFrancesco’s alleged involvement in this

 maneuver is limited to “touting” that she and Honig together held 16% of RBI stock in a letter,

 the contents of which are unpleaded, and that Ms. DeFrancesco acquired RBI shares. See AC ¶¶

 6, 132, 138. The Opposition, however, introduces statements from that letter, and from another

 letter dated September 20, 2016, apparently signed by Ms. DeFrancesco, Opp. 7-8, that are found

 nowhere in the Amended Complaint, and should therefore be disregarded.

         Plaintiff also pleads that “three of [RBI predecessor]’s board members resigned, on the

 basis that Defendant Honig was likely to prevail in his legal fight . . . .” Id. at ¶ 138 (emphasis

 added). By contrast, the Opposition introduces an unpleaded letter from the same three board

 members, see Pl. Ex. 12, in which they state they would resign after “discussions with principal

 shareholders,” which the Opposition argues is a “clear reference” to Honig and Ms.

 DeFrancesco. Opp. 8-9 n.12. The Opposition also explains, however, that at this time “Honig’s


         6
          The Opposition also asserts that “O’Rourke had also co-invested with Beeghly, Stetson,
 Groussman, DeFrancesco, and Kaplan in various prior companies,” Opp. 10, obscuring that Ms.
 DeFrancesco’s single alleged prior activity alongside any Defendant was an unquantified
 investment, at an unspecified time, in PolarityTE. See id. Similarly, Plaintiff’s claim that certain
 members of the “Honig Group” “coordinat[e]d their trades down to the single share,” Opp. 30,
 is unsupported by any allegations about Ms. DeFrancesco. See id. at 30-31.


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 ‘friends and relatives’” came to “control[] more than 55% of [RBI’s] outstanding shares,” citing

 Amended Complaint allegations concerning RBI share ownership that do not refer to Ms.

 DeFrancesco. See Opp. 8. Plaintiff’s new narrative that Ms. DeFrancesco played any role—

 much less a primary role beside Honig—in effecting changes to RBI’s board is unsupported by

 the allegations in the Amended Complaint.

        Regardless, the Amended Complaint pleads no factual support for the notion that Ms.

 DeFrancesco’s (unpleaded) letters were false or misleading, or that her purpose in allegedly

 preparing them was to further the purported scheme.7

        C.      Plaintiff Fails to Plead Scienter With the Requisite Particularity

        Plaintiff’s sparse allegations about Ms. DeFrancesco do not support a compelling

 inference that she acted with scienter. As the Moving Brief made clear, Plaintiff fails to plead

 that she acted at all. See MTD 13-15. Rather, Plaintiff alleges that Ms. DeFrancesco held stakes

 in RBI and Kairos at the time of the Kairos Transaction, and in RBI and Prive at the time of the

 Prive Transaction, when Kairos was already a subsidiary of RBI. See, e.g., id. at 9. Plaintiff

 alleges no actions whatsoever on the part of Ms. DeFrancesco to advance the transactions.

 See id. at 13. Because Ms. DeFrancesco could not form intent to commit non-existent acts,

 scienter is not relevant, much less pleaded.




        7
           The Opposition also claims that “Honig (with DeFrancesco’s support)” “nominated
 Beeghley as CEO,” but cites only Amended Complaint Paragraphs 136-42 and (unpleaded)
 Plaintiff’s Exhibits 7, 8, and 9, none of which supports this assertion. See Opp. 29 n. 37. The
 Opposition’s claim that “Honig and DeFrancesco” “hid[] their control through false and
 misleading Forms S-3/A and Proxy Statements, and other beneficial ownership disclosure
 violations under Section 13(d),” Opp. 56-57, is guilt-by-association that also finds no support in
 Plaintiff’s actual allegations. And Plaintiff’s assertion that Honig maintained “close business,
 investment, and/or personal ties” to Ms. DeFrancesco is based on insufficient allegations, such as
 Ms. DeFrancesco’s letter, which are addressed herein. See Opp. 56 n.68.


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         Plaintiff rightly explains that establishing motive is insufficient, on its own, to plead

 scienter.   Opp. 43.   Regardless, Plaintiff fails to plead motive.      Plaintiff asserts that Ms.

 DeFrancesco was “motivated by [her] opportunity to participate in lucrative related-party

 transactions with” RBI, Opp. 43, but the motivation to obtain value for an investment is

 universal, and would be insufficient even if pleaded as to Kairos’ officers and directors. See

 GSC Partners CDO Fund v. Washington, 368 F.3d 228, 237 (3d Cir. 2004) (“In every corporate

 transaction, the corporation and its officers have a desire to complete the transaction, and officers

 will usually reap financial benefits from a successful transaction. Such allegations alone cannot

 give rise to a ‘strong inference’ of fraudulent intent.”); Fialkov v. Alcobra, Ltd., 2016 WL

 1276455, at *1, *7 (S.D.N.Y. Mar. 30, 2016) (“Motives shared by virtually all corporate insiders

 include the desire to sustain ‘the appearance of corporate profitability’ or the ‘success of an

 investment.’” (quoting Chill v. Gen. Elec. Co., 101 F.3d 263, 268 (2d Cir. 1996)). And, again,

 Plaintiff’s failure to plead acts on the part of Ms. DeFrancesco makes scienter irrelevant.

         Plaintiff also argues that it alleged “numerous suspicious insider sales by” Ms.

 DeFrancesco. Opp. 45 n. 55 (citing AC ¶¶ 160-163). The complaint paragraphs cited in support

 of this claim do not mention Ms. DeFrancesco. And as the Moving Brief demonstrated—and

 Plaintiff does not dispute—Plaintiff fails to plead that Ms. DeFrancesco was an insider at RBI

 after October 10, 2017, because RBI’s issuances of additional shares diluted Ms. DeFrancesco’s

 alleged holdings to well below 10% of outstanding shares. See MTD 14; see also Fast Answers

 – Forms 3, 4, 5, SEC, (“Corporate insiders – meaning a company’s officers and directors, and

 any beneficial owners of more than ten percent of a class of the company’s equity securities

 registered under Section 12 of the Securities Exchange Act of 1934 – must file with the SEC a




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 statement of ownership regarding those securities.”).8 Consequently, Plaintiff cannot attribute

 “insider” sales to Ms. DeFrancesco, and cannot use such sales to support an inference of scienter.

 And, as discussed above, Plaintiff’s sole allegation that Ms. DeFrancesco wrote a letter “touting”

 her ownership of shares in RBI does not constitute misconduct, and does not remotely support a

 compelling inference that Ms. DeFrancesco participated in a “pump and dump” scheme.

        Plaintiff’s authority does not support scienter. Plaintiff cites In re Viropharma Inc.

 Securities Litigation, 21 F. Supp. 3d 458 (E.D. Pa. 2014) for the notion that “a court can find an

 inference of scienter even when only some defendants had insider sales during the class period.”

 Opp. 45 n.55. In Viropharma, however, the individual defendants were the President/CEO, Vice

 President/CFO, Vice President for Strategic Initiatives, and General Counsel. See Amended

 Class Action Complaint, Castro v. Viropharma Inc. et al., 2:12-cv-02714-CDJ (E.D. Pa. Oct. 19,

 2012), ECF No. 35, ¶¶ 32-35. Ms. DeFrancesco is nowhere alleged to have held any similar

 insider roles at RBI, Kairos, or Prive. Equally inapposite is SEC v. Desai, 145 F. Supp. 3d 329,

 337 (D.N.J. 2015), which Plaintiff uses to argue that concealing misconduct is a sign of scienter.

 But the Amended Complaint nowhere alleges that Ms. DeFrancesco engaged in misconduct,

 much less covered it up. And even if Plaintiff had pleaded that Ms. DeFrancesco failed to timely

 file an amended Schedule 13D, the mere fact of an omission is insufficient to plead the omission

 was undertaken with scienter. If, as Plaintiff appears to claim, that were sufficient, the separate

 elements of falsity and scienter would merge.9


        8
           Available at https://www.sec.gov/fast-answers/answersform345htm.html (last visited
 October 22, 2019).
         9
           Plaintiff’s allegations concerning RBI’s “core operations” fail as to Ms. DeFrancesco
 because Plaintiff nowhere alleges that she was part of the group of “high-level employees, such
 as officers and directors.” Opp. 49 (quoting Adams v. Amplidyne, Inc., 2000 WL 34603180
 (D.N.J. Oct. 24, 2000)).


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                                          CONCLUSION

        For the reasons stated above and in the Moving Brief, Ms. DeFrancesco respectfully

 requests an Order dismissing the Amended Complaint as against her, with prejudice, and any

 further relief the Court deems just and proper.

 DATED:      New York, New York                    Respectfully submitted,
             October 22, 2019
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